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                 EXHIBIT 6

               REDACTED
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                                  Gabe Newell                              1

1                  UNITED STATES DISTRICT COURT
2      FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
3

4                                             ) Case No.
     IN RE VALVE ANTITRUST LITIGATION         ) 2:21-cv-00563-JCC
5                                             )
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7             VIDEO-RECORDED DEPOSITION UPON ORAL
8                          EXAMINATION OF
9                           GABE NEWELL
10      **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**
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14                            9:09 A.M.
15                        NOVEMBER 21, 2023
16                       ARCTIC CLUB HOTEL
17                        700 THIRD AVENUE
18                      SEATTLE, WASHINGTON
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24   REPORTED BY: CARLA R. WALLAT, CRR, RPR
25                  WA CCR 2578, OR CSR 16-0443, CA CSR 14423
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        Case 2:21-cv-00563-JCC Document 313-6 Filed 07/11/24 Page 4 of 8

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21   CHRIS SCHENCK, Valve in-house counsel
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